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                   CHUNGHWA PICTURE TUBES, LTD.
               8
                                                   UNITED STATES DISTRICT COURT
               9
                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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           11
                   IN RE: CATHODE RAY TUBE (CRT)                            CASE NO. 3:07-CV-5944 SC
           12      ANTITRUST LITIGATION
                                                                            MDL NO. 1917
           13      This Document Relates to:
                                                                            CHUNGHWA PICTURE TUBES, LTD.’S
           14      DIRECT PURCHASER ACTIONS                                 NOTICE OF INABILITY TO ATTEND
                                                                            STATUS CONFERENCE
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           18             Defendant Chunghwa Picture Tubes, Ltd. (“CPT”) files this Notice of Inability to Attend in

           19      connection with the Status Conference scheduled for September 13, 2013.

           20             On July 2, 2013, the Court entered an Order Setting Status Conference, ECF No. 1758,

           21      requiring “[a]ll principal parties and lawyers . . . to appear” for a hearing on September 13, 2013 to

           22      discuss “the progress of the case and the prospects for its efficient resolution.” Order at 1. The Court

           23      ordered that attendance is mandatory, but provided: “If a party believes it has a valid excuse for not

           24      being present and represented at the hearing, it should file a notice explaining the reasons for its

           25      absence, no later than one week before the hearing date.” Id. at 2.

           26             Counsel for CPT will attend the Conference to represent CPT. CPT requests, however, that it

           27      be excused from attending for good cause and that the Court allow its counsel, Gibson, Dunn &

           28      Crutcher, LLP, to attend on its behalf. CPT, which is based in Taiwan, does not have any presence

Gibson, Dunn &
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Crutcher LLP
                    CHUNGHWA PICTURE TUBES, LTD.’S NOTICE OF INABILITY TO ATTEND STATUS CONFERENCE     CASE NO. 3:07-CV-5944 SC
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               1   (such as employees, offices, or branches) in the United States. Additionally, due to preexisting
               2   obligations in Taiwan, the General Counsel of CPT, who is responsible for this litigation, is unable to
               3   attend the Conference.1 CPT notes that it has settled with both sets of class plaintiffs and some of the
               4   direct action plaintiffs.
               5           CPT therefore respectfully requests that the Court excuse CPT from attending the Conference
               6   and permit its counsel from Gibson, Dunn & Crutcher LLP to represent CPT at the Conference.
               7

               8   DATED: August 29, 2013                        GIBSON, DUNN & CRUTCHER LLP
                                                                 JOEL S. SANDERS
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                                                                 By:         /s/ Joel S. Sanders
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           17                                                    CHUNGHWA PICTURE TUBES, LTD.
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           27        1     In addition, Defendant Chunghwa Picture Tubes (Malaysia) no longer exists and is therefore
                           unable to attend. CPT and its counsel represent the interests of that now-defunct entity in this
           28              litigation.

Gibson, Dunn &
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Crutcher LLP
                    CHUNGHWA PICTURE TUBES, LTD.’S NOTICE OF INABILITY TO ATTEND STATUS CONFERENCE           CASE NO. 3:07-CV-5944 SC
